Case 7:18-cr-00818-VB Document 45 Filed 01/12/21 Page 1 of 1

 

UNITED STATES DISTRICT COURT bee
SOUTHERN DISTRICT OF NEW YORK 7

 

 

 

 

 

X
Use
“  Plaintiff(s), CALENDAR NOTICE |
v. A% Ce 8 (va) :
Chaar SQW) .
Defendant(s).
x
TAKE NOTICE that the above-captioned case has been schédUted/.
e-Scheduled for.
___ Status conference | ___ Final pretrial conference
____ Telephone conference ___ Jury selection and trial
____ Pre-motion conference ____ Bench trial
___ Settlement conference ____ Suppression hearing
____ Oral argument , ___ Plga hearing
____ Bench ruling on motion LZ Sentencing

on Lf - Z3- ,202/ ,at 5 /3Q Pr~A~ in Courtroom 620, United States
Courthouse, 300 Quarropas Street, White Plains, NY 10601. Adjourned from 2 -{p -A\
' —— eo
All requests for adjournments or extensions of time must be in writing and
filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's
Individual Practices. Absent special circumstances, such requests shall be made at
least two business days prior to the scheduled appearance.

Dated: / ~ /2—20 2]
White Plains, NY

SO ORDERED:

Vr

Vincent L. Bridcetti”
United States District Judge
